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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               CASE NO.: 1:24-cv-24809-RKA

  JOHN DOE,
  Plaintiff,
  v.
  THE INDIVIDUALS, PARTNERSHIPS
  AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON
  SCHEDULE “A,”
  Defendants.
  ________________________________________/

                   MOTION TO DISSOLVE PRELIMINARY INJUNCTION

         Defendants, zhoukoutianshuoshangmaoyouxiangongsi, Flegobey Store US (7-14Day de-

  livery), and Loodion (7-14 Days delivered to you), SHENGMENG, EZGHAR Nanozoom Di-

  rect-US, wangjian, fahaoshangdian, bohushangdain, WHSJKJ, GZNRSM, bokando store and

  Zhang QianJin (collectively “Defendants”), by and through their undersigned counsel, hereby

  request that this Court dissolve the Order for Preliminary Injunction [DE 21] against Defendants

  and state as follows:

                                     I. LEGAL STANDARD

         In Fed. Trade Comm'n v. Simple Health Plans LLC, 58 F.4th 1322, 1330 (11th Cir. 2023),

  the court explained:

      Dorfman raises several other issues, but they are either outside the scope of this appeal or
      have been abandoned. Because this appeal comes to us on a second successive motion to
      dissolve the preliminary injunction, our review is limited to whether AMG Capital re-
      quires dissolution or modification of the preliminary injunction order. SeeBirmingham
      Fire Fighters Ass'n 117 v. Jefferson Cnty. , 290 F.3d 1250, 1254 (11th Cir. 2002) (an ap-
      peal "should be permitted only to the extent necessary to consider whether the changed
      circumstances, evidence, or law requires modification of the order which is presumed to
      have been correct when issued").



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  Fed. Trade Comm'n v. Simple Health Plans LLC, 58 F.4th 1322, 1330 (11th Cir. 2023).

         In PB Legacy, Inc. v. Am. Mariculture, Inc., the court stated the standard for dissolving its

  injunction:

       The Court has the discretionary authority to dissolve, modify, or clarify its injunction. Dil-
      lard v. Baldwin County Com'rs, 376 F.3d 1260, 1264 (11th Cir. 2004); CBS Broad. Inc. v.
      EchoStar Comm. Corp., 532 F.3d 1294, 1299 (11th Cir. 2008). "Before exercising its pow-
      er to modify, a court must be convinced by the party seeking relief that existing conditions
      differ so substantially from those which precipitated the decree as to warrant judicial ad-
      justment." Hodge v. Dep't of Hous. & Urban Dev., Hous. Div., Dade County, Fla., 862
      F.2d 859, 862 (11th Cir. 1989).

  PB Legacy, Inc. v. Am. Mariculture, Inc., Case No: 2:17-cv-9-FtM-29NPM, at *6 (M.D. Fla. Jan.
  9, 2020).

                      II. MEMORANDUM OF LAWS AND ARGUMENT

         “Rule 60 instead provides the proper vehicle for this relief by permitting courts to modify

  preliminary injunctions upon a showing of a significant change in circumstances. See VPR

  Brands, 2023 WL 3600666, at *2.” XYZ Corp. v. The Individuals, P'ships & Unincorporated As-

  s'ns Identified in Schedule A, 23-cv-24366-BLOOM/Torres, at *6 n.6 (S.D. Fla. July 25, 2024).

         Plaintiff requested this Court to enter an order of preliminary injunction against Defen-

  dants to enjoin future potential infringement toward his/her copyright. Plaintiff alleged that De-

  fendants infringed the following copyright as shown in Figure 1 below:




                                                    Figure 1: Plaintiff’s Copyrighted Work with
                                                    U.S. Copyright Office Registered No. VAu
                                                    1-518-525.



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         In the Exhibit 1 attached to the Complaint [DE 9], it shows the year of completion and

  publishing are both Year 2023 and the date of certification is Nov. 22, 2023. See Exhibit 1 to

  Complaint, DE 9-1, p. 1.

         After the Order of Preliminary Injunction [DE 21] was entered, Defendants found out an

  exactly identical work was published and registered in China with first date of publishing on M

  arch 9, 2021. Below is the screenshot of the four copyrighted works resisted in Guizhou Province

  of China on Oct. 11, 2023. See Figure 2. A copy of the Copyright Registration Certificate is at-

  tached as Exhibit “A” to this motion.




                                                              Figure 2: The Work Registered in
                                                              China with Earlier Date of Pub-
                                                              lishing.




         A comparison of the juxtaposed two works is shown below. See Figure 3.

  Prior Work           Plaintiﬀ’s
                       Copyrighted Work




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            Figure 3: Comparison of Prior Art and Plaintiff’s Copyrighted Image (above)

           In Compulife Software Inc. v. Newman, 959 F.3d 1288, 1303 (11th Cir. 2020) , the court

  explained:

        Before comparing two works to determine if they display the required substantial simi-
        larity, a court must "eliminate from comparison the unprotectable elements of" the
        copyrighted work. Bateman , 79 F.3d at 1545. This process—known as "filtration"—is
        necessary because even substantial similarity between a copyrighted work’s unpro-
        tectable elements and a purportedly infringing work isn’t actionable, regardless of how
        many unprotectable elements are copied or how important they may be. Id. at 1544.
  Id.

           Defendants sell products with similar or identical package with the accused prod-

  uct label as follows. See Figure 4 below.

  Product Images                     Defendant
                                              bohushangdian




                                      ZHANGXIAOLONGMIAO
                                      QIANJIEDAOSHUIXIGUA
                                               N

                                               zxingrenkeji




                      Figure 4: Sample Images in Label of Defendants’ Products.

           As Plaintiff’s copyrighted work at issue is 100% identical from the one published before,

  such work does not have fresh expression of ideas. The entire picture of Plaintiff’s work at issue

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  is either fraudulent or unprotectable. Compulife Software Inc. v. Newman, 959 F.3d 1288, 1303

  (11th Cir. 2020).

         Given the new evidence found after the entry of the Order of Preliminary Injunction [DE

  21], Defendants request that this Court consider it as changed circumstances.



         WHEREFORE, Defendants, zhoukoutianshuoshangmaoyouxiangongsi, Flegobey Store

  US (7-14Day delivery), and Loodion (7-14 Days delivered to you), SHENGMENG, EZGHAR

  Nanozoom Direct-US, wangjian, fahaoshangdian, bohushangdain, WHSJKJ, GZNRSM, bokan-

  do store and Zhang QianJin, by and through their undersigned counsel, hereby request that this

  Court dissolve the Order for Preliminary Injunction [DE 21] against Defendants.




                                               Respectfully submitted on Feb. 27, 2025.


                                               /s/ Jianyin Liu
                                               Jianyin Liu, Esq.
                                               FBN: 1007675
                                               The Law Offices of James Liu PLLC
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                                               Email: jamesliulaw@gmail.com


                       CERTIFICATE OF GOOD-FAITH CONFERRAL

         I HEREBY CERTIFY that I have reached to the opposing counsel for the instant motion,
  and the opposing counsel objected to it.

                                                /s/ Jianyin Liu


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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was sent to all parties via CM/
  ECF on Feb. 27, 2025.

                                              /s/ Jianyin Liu




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